
33 A.3d 739 (2011)
303 Conn. 916
In re KALEB H.
Not in source.
Supreme Court of Connecticut.
Decided December 15, 2011.
Dana M. Hrelic, Michael S. Taylor and Brendon P. Levesque, Hartford, in support of the petition.
Stephen G. Vitelli, assistant attorney general in opposition.
*740 The petition by the respondent mother for certification for appeal from the Appellate Court, 131 Conn.App. 829, 29 A.3d 173, is granted, limited to the following issues:
"1. Did the Appellate Court properly determine that the respondent mother failed to present sufficient factual allegations to raise reasonable doubt as to her competence?
"2. If the answer to question one is in the negative, does the same due process right to a competency evaluation that exists in termination of parental rights proceedings also attach to commitment proceedings?"
